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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF LOUISIANA
                             ALEXANDRIA DIVISION

QUENTIN TERRELL
                                                    NO. 21- cv__________
VS.

TOWN OF WOODWORTH, BERKSHIRE                        JUDGE______________________
HATHAWAY GUARD INSURANCE
COMPANIES, MAYOR DAVID BUTLER,
IN HIS OFFICIAL CAPACITY, JAMES                     MAG ________________________
GONZALES, IN HIS OFFICIAL AND
INDIVIDUAL CAPACITY AND LORY
MALONE, IN HIS INDIVIDUAL CAPACITY


                                      COMPLAINT


        NOW COMES the plaintiff, QUENTIN TERRELL, a citizen of Louisiana and

resident of Avoyelles Parish, who respectfully represents:

                        PARTIES, JURISDICTION AND VENUE

                                            1.

        This action is brought pursuant to 42 U.S.C. §1983 and 42 U.S.C. §1988 to

redress the deprivation under color of law by defendants of Plaintiff’s rights as secured

by the Fourth and Fourteenth Amendments of the United States Constitution and

related state law tort claims under Louisiana Civil Code articles 2315 and 2320.

                                            2.

        This court has jurisdiction of the action pursuant to 28 U.S.C. §§ 1331, 1343 and

1367.
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                                            3.

        Venue is proper under 28 U.S.C. § 1391, as the event giving rise to the claims

asserted in this complaint occurred in Rapides Parish, Louisiana which is within this

District.

                                            4.

        Plaintiff, Quentin Terrell, was, at all times relevant, a citizen of Louisiana and

resident of Marksville, Louisiana.

                                            5.

        Defendant, the Town of Woodworth, is and was at all material times, a

municipality and political subdivision of the state of Louisiana in Rapides Parish.

                                            6.

        Defendant, Mayor David C. Butler, II, is and was at all material times the Mayor

of the Town of Woodworth in Rapides Parish, Louisiana. He is sued in his official

capacity.

                                            7.

        Defendant, Chief of Police Officer James Gonzales, was a duly sworn and

licensed police officer of the Town of Woodworth Police Department in Rapides Parish,

Louisiana acting under color of state law and within the scope of his employment at all

times relevant to this complaint. He is sued in his official capacity and individual

capacity.

                                            8.

        Defendant, Officer Lory Malone, was a duly sworn and licensed police officer of

the Town of Woodworth in Rapides Parish, Louisiana acting under color of law and
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within the scope of his employment at all times relevant to this complaint. He is sued in

his individual capacity.

                                             9.

       Berkshire Hathaway Guard Insurance Companies is the insurer of the town of

Woodworth and is sued pursuant to Louisiana’s direct-action statute.

                           FACTS COMMON TO ALL COUNTS
                                             10.
       On 12/13/2020, at 07:00:03 in the morning, Chief of Police for the Town of

Woodworth James Gonzales was in a marked Woodworth Police vehicle in uniform

engaged in traffic enforcement.

                                             11.

       According to Chief Gonzales, he allegedly observed a silver Pontiac Grand Prix

exceeding the posted speed limit in Woodworth. Gonzales alleged that the driver,

Quentin Terrell was driving 47 in a 35 MPH zone.

                                             12.

       Then, just minutes later, after Officer Lory Malone parked behind Chief Gonzales’

patrol car, Chief Gonzales told Officer Malone “got him at 48 [mph].” Chief Gonzales

did not say 47 miles per hour, like he had told plaintiff Quentin Terrell.

                                             13.

       Curiously, the police report states 48 miles per hour rather than the 47 miles per

hour Chief Gonzales originally told plaintiff Quentin Terrell

                                             14.

       Notably, the town of Woodworth, Louisiana is infamous for being one of

Louisiana’s worst speed trap city or town.
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                                                15.

          As the press has reported, “The town [of Woodworth] is notoriously known as a

speed trap. But people not familiar with the area or who don’t drive by much, are almost

guaranteed to get a ticket, even if they’re careful, because of a simple fact — the

location where the speed limit dips from 45 to 35 mph.” Speed Trap Towns, The Best of

SWLA, July 19, 2019. 1

                                                16.

          One lawmaker and former sheriff named Steve Pylant stated he “particularly has

a problem with Woodworth, which has annexed a sizable strip along Interstate 49 that’s

populated by nothing but pine trees.” Speed Trap Towns, The Best of SWLA, July 19,

2019.

                                                17.

          “In other words, the city limits extend into an area that looks like it is in the middle

of nowhere. People traveling through don’t realize they are inside city limits until it’s too

late and they get stopped by the cop.” Speed Trap Towns, The Best of SWLA, July 19,

2019.

                                                18.

          As reported, “There are 45 mph signs from each direction and a small 35 mph

stretch in between that is often missed by out-of-towners. The Woodworth police are

taking advantage of the layout of their city and its proximity to I-49.” Speed Trap Towns,

The Best of SWLA, July 19, 2019.

                                                19.



1
    BestOfSwla Speed Trap Towns - BestOfSwla
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          The Advocate/Times Picayune newspaper reported, “The National Motorists

Association sometimes lists the worst speed trap in each state, using public polling. On

at least one occasion, Woodworth was Louisiana's No. 1.”2

                                                      20.

          An Alexandria newspaper once polled readers on the worst speed trap in central

Louisiana. Again, Woodworth was No. 1. The Woman Who Spent Six Years Fighting a

Traffic Stop, The Advocate/Times Picayune/ The Marshall Project, updated July 18,

2019. 3

                                                      21.

          A woman told the paper that she was pulled over by Woodworth police while in

labor 4 -- and was kept for more than a half hour.” The Woman Who Spent Six Years

Fighting a Traffic Stop, The Advocate/Times Picayune/ The Marshall Project, updated

July 18, 2019. 5

                                                      22.

          Roy Iman, was reported in the Town Talk to have witnessed Woodworth Police

Officers “passing out” tickets to motorists from South Louisiana fleeing a hurricane

during a mass emergency evacuation. Suzan Manuel, Woodworth Rated Worst ‘Speed

Trap’ in Cenla, The Alexandria Daily Town Talk, March 9, 2002.

                                                      23.

          In the Town Talk, Mayor Butler stated, “Those who come into our community

and mess with Woodworth, the police will mess with you. I stand behind my


2
  Worst cities for speeding tickets across the USA - ABC News (go.com)
3
  The woman who spent 6 years fighting a traffic stop: Ordeal began in Louisiana town | Crime/Police | nola.com
4
  Suzan Manuel, Woodworth Rated Worst ‘Speed Trap’ in Cenla, The Alexandria Daily Town Talk, March 9, 2002.
5
  The woman who spent 6 years fighting a traffic stop: Ordeal began in Louisiana town | Crime/Police | nola.com
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officers 100 percent.” Eugene Sutherland. Police: Traffic Tickets about Safety, Not

Money, The Town Talk, May 7, 2006.

                                            24.

       When the current Woodworth Chief of Police was Deputy Chief James “Speedy”

Gonzales for the Town of Woodworth stated, “I love our reputation.” Robert Roan,

Proud to be a Speed Trap, Alexandria Daily Town Talk, January 8, 1996.

                                            25.

       Echoing Mayor Butler, Chief Deputy James “Speedy” Gonzales for the Town of

Woodworth, now the Chief of Police for the Town of Woodworth stated, “People from all

around know they can’t come to Woodworth and mess up, and consequently, we don’t

have the problems with crimes that other places have.” Robert Roan, Proud to be a

Speed Trap, Alexandria Daily Town Talk, January 8, 1996.

                                            26.

       Mayor Butler and the Chief of Police James “Speedy” Gonzales’s edicts can fairly

be said to represent official policy and ratification of the town’s unconstitutional tactics

rendered by the Town of Woodworth’s police.

                                            27.

       This statement to the press by the Mayor of Woodworth and the Chief of Police

constituted policy statements or custom that fairly represents the municipal policy of the

                                            28.

       Under Louisiana law, “Custom results from practice repeated for a long time and

generally accepted as having acquired the force of law.” La. C.C. art. 3.

                                            29.
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       Other drivers have reported to newspapers that they were ticketed in Woodworth

for speeding when they were not even speeding.

                                          30.

       For instance, “Alexandria resident Jimmy Jones said he received a ticket in

Woodworth and wasn’t even speeding.” Suzan Manuel, Woodworth rated worst ‘speed

trap’ in Cenla, The Town Talk, March 19, 2002.

                                          31.

       The Louisiana Third Circuit Court of Appeal, composed of three judges, held the

Town of Woodworth’s police engaged in “racial profiling” against African Americans

during a stop. Parker v. Town of Woodworth, 2014-943 (La. App. 3 Cir. 3/4/15), 160 So.

3d 1113, 1125, writ denied, 2015-0659 (La. 5/22/15), 171 So. 3d 254.

                                          32.

       The Louisiana Third Circuit Court of Appeal held, “It is well-established law that

racial profiling is completely incompatible with the Constitutional protections of the

Fourth Amendment and our own State Constitutional right to privacy.” Parker v. Town

of Woodworth, 2014-943 (La. App. 3 Cir. 3/4/15), 160 So. 3d 1113, 1124–25, writ

denied, 2015-0659 (La. 5/22/15), 171 So. 3d 254.

                                          33.

       The three-judge panel considering the Town of Woodworth’s policeman’s

behavior stated, “To put it plainly, this behavior does not pass the smell test, i.e. ‘it

stinks.’” Id

                                          34.
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         The court held, “[Officer’s] Godwin’s testimony shows a complete lack of

knowledge of the restraints imposed upon police conduct by the U.S. Constitution and

the laws and Constitution of the State of Louisiana.” Id.

                                                    35.

         According to recent data, the Town of Woodworth is 91.5% white and only 4.17%

African American, with the remaining percentages comprising other ethnicities. 6

                                                    36.

         The police officers of the Town of Woodworth, including their Chief are using

improper discretion in selective enforcement, and this is a longstanding custom. The

plaintiff’s attorney, during the initial trial of Parker v. Town of Woodworth, (La. App. 3

Cir. 3/4/15)160 So. 3d 1113, contended that the town's officers have been violating

motorists' rights against illegal search and seizure for so long, that they "have begun to

believe that wrong is right.” The Third Circuit agreed. "We could not say it better," reads

the opinion. "Officer Godwin's testimony demonstrates that he genuinely believes he

has a right to make these 'check-em-out stops' and that this is normal procedure

for the police officers of the Town of Woodworth.” Id. (Emphasis added).

                                                    37.

         The Town of Woodworth’s official policy is a persistent, widespread practice of

the mayor and the Chief of Police, which, although not authorized by officially adopted

and promulgated policy, is so common and well settled as to constitute a custom that

fairly represents municipal policy.

                                                    38.



6
    https://datausa.io/profile/geo/woodworth-la#demographics
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        On 12/13/2020, at 07:00:03, Chief of Police Gonzales for the Town of Woodworth

activated his emergency equipment and began following the vehicle driven by Quentin

Terrell after he allegedly observed Terrell going 47 miles per hour in a 35 mile per hour

zone.

                                            39.

        Quentin Terrell complied with Chief Gonzales’s requests.



        Chief Gonzales asked for Quentin Terrell’s driver’s license and other paperwork

to which Quentin Terrell complied.




                                            41.

        Therefore, Chief Gonzales having received Terrell’s driver’s license knew his

identity and his address.

                                            42.

        Chief Gonzales asked Quentin Terrell to exit the vehicle.
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                                             43.

        Chief Gonzales ran Terrell’s license in the computer in his patrol car.

                                             44.

        Chief Gonzales then approached Quentin Terrell who was standing behind the

 vehicle he had been driving. According to Gonzales, this was a traffic stop and the

 investigation should have been completed once he checked Plaintiff’s driver’s license.

 Gonzales, though, would not allow Plaintiff Terrell to leave.

                                             45.

        Instead, Chief Gonzales then said he smelled marijuana in the car, giving him a

 reason to extend the detention and search the vehicle.

                                             46.

        Terrell advised Chief Gonzales that he had not smoked marijuana, and they

 would find no marijuana in the car.

                                             47.

        Notably, Terrell had been smoking a tobacco cigarette when he was pulled over

 and was still smoking it when he exited the vehicle.
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                                              48.

        Chief Gonzales asked Terrell if he would give consent to search the vehicle to

 which Terrell replied, “No, sir, because [the car] ain’t mine.”

                                              49.

        Plaintiff, Terrell, repeatedly told Chief Gonzales there was no marijuana in the

 vehicle. Ultimately, Terrell was proven right after State Police made a thorough search

 of the car.

                                              50.

        Officer Malone was now on the scene and he approached Chief Gonzales car,

 while Chief Gonzales looked on his computer in the car, and noted Terrell had been

 arrested before for marijuana.

                                              51.

        Despite Terrell’s protestations, Chief Gonzales then stated he was going to

 conduct a “probable cause” search of the vehicle even though we now know he did not
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 have probable cause for any search, that the allegation of marijuana smoke in the car

 was not borne out by the subsequent police search and that Gonzales lied about the

 smell of marijuana to justify a pretextual search of the vehicle.

                                             52.

        The alleged smell of marijuana was used as a pretext to impermissibly search

 the vehicle Quentin Terrell was driving without a warrant or consent.

                                             53.

        The State police, who investigated the shooting, conducted a detailed search of

 the vehicle Terrell was driving. No evidence of marijuana was ever found in the vehicle.

 Terrell was carefully searched by Malone prior to the shooting. No marijuana was found.

                                             54.

        Terrell pleaded with Chief Gonzales to just write him a ticket for speeding and/or

 reckless operation and follow him home, since Terrell insisted there was no marijuana in

 the car.

                                             55.

        Ultimately, the alleged traffic violation of speeding for which Chief Gonzales

 pulled over plaintiff, Quentin Terrell, as well as improper lane usage, the District

 Attorney declined to prosecute giving all charges a “NO CASE” designation.

                                             56.

        Chief Gonzales asked Officer Malone to watch Terrell as he searched Terrell’s

 vehicle.

                                             57.

        Chief Gonzales only saw a pack of Kool tobacco cigarettes on the driver’s seat.
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                                             58.


                                             59.
        As Chief Gonzales searched the vehicle, Terrell broke free from Officer Malone

 and ran to passenger side to retrieve a gun which was always pointed at the ground in

 his left hand and started to run away from the officers.




                                             60.
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       Officer Malone continued to chase Quentin Terrell, while the gun was in Terrell’s

 left hand pointing toward the ground, as Terrell was running towards the woods.




                                           61.

       Officer Malone continued to chase Terrell, and tackled Terrell.




                                           62.

       During this time, the gun in Quentin Terrell’s left hand was dropped, and both

 men fell to the ground.
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                                           63.

       After the gun had been dropped, Terrell rolled into a culvert over rocks. He was

 able to get up and continued to run, unarmed, from officers towards the woods.




                                           64.

       Terrell then sat upright, and no gun was visible.
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                                            65.

       With his back to the officers, unarmed Terrell continued to run into the remote

 woods away from the police and the public.




                                            66.

       One of the officers yelled in quick succession, “Drop the gun. Drop it.” Two shots

 were immediately fired at Terrell in the back even though Terrell was unarmed at this

 point and running away from police. Further, even if Terrell would have had the gun,

 which he did not, the officer gave him no time to comply.
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                                           67.

       The police officers did not even give an opportunity for Terrell to raise his hands

 showing he had no gun before he was shot in the back running away from police toward

 a remote wooded area.




                                           68.

       As Terrell lay incapacitated bleeding from two gun shots to the back, the officer

 continued to keep his gun drawn, and for the first time the Officer yells, show “your

 hands.”
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                                            69.

        After Terrell was shot, Chief Gonzales says to him while he lies bleeding from

 two gun shots to the back, “Man, why [sic] you want to be stupid, bruh?”

                                            70.

        Notably, during all relevant times, Terrell never threatened to use the gun against

 the officers, he never pointed the gun at the officers, he just simply tried to run away

 from the officers to a remote wooded area.

                                            71.

        Officer Malone talking to another officer who arrived at the scene said, “Shot his

 ass” referring to Terrell.

                                            72.

        Officer Malone said, “Two [bullets] in the back.” Then, Officer Malone told the

 other officer, “I’m good, bruh” after just shooting an unarmed man in the back twice. Cf.

 United States v. Ramos, 537 F.3d 439, 465 (5th Cir. 2008) (border patrol agents faced

 no credible threat even though agents stated they thought they saw an object in the

 suspect’s hand, and shot the suspect in the back. The agents were convicted of assault

 and civil rights violations).

                                            73.

        Officer Malone then referred to Quentin Terrell as a “fucking dumbass.”

                                            74.

        At no time, did plaintiff Terrell ever verbally threaten officers, nor was he wanted

 by law enforcement at the time of the stop. Despite Chief Gonzales having Terrell’s

 name and address from Terrell’s license, Officer Malone opted to shoot him in the back
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 while he was running to a remote wooded area, when the Officers could have simply

 gone to his home to find him, since they had his address.

                                             75.

        Throughout the course of the two shots being fired and immediately preceding

 that time, plaintiff Terrell was moving away from – and not toward Chief Gonzales and

 Officer Malone.

                                             76.

        Quentin Terrell was charged with Speeding, Improper Lane Usage, Littering,

 Unauthorized Use of a Motor Vehicle, Felon in Possession of a Firearm, Resisting a

 Police Officer with Force or Violence, Aggravated Assault upon a Police Officer with a

 Firearm, Flight from an Officer, and Battery on a Police Officer.

                                             77.

        The Rapides Parish District Attorney’s Office conducted a thorough screening of

 this case.

                                             78.

        After reading the reports, reviewing the video and the evidence obtained, the

 District Attorney refused to prosecute Terrell on any of the charges for which the

 Woodworth police had arrested plaintiff, Quentin Terrell.

                                             79.

        In fact, the District Attorney “no cased” every charge.

                                             80.

        Due to the above actions caused by Officer Malone and Chief Gonzales, plaintiff

 Terrell has catastrophic injuries due to being shot twice in the back by Officer Malone.
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                                              81.

        Additionally, Chief Gonzales failed to intervene, and stop Officer Malone from

 letting the situation escalate to the point where Officer Malone shot plaintiff Terrell in the

 back twice.

                                           COUNT I

        FOURTH AMENDMENT - UNREASONABLE WARRANTLESS SEIZURE
                        NO PROBABLE CAUSE

                                              82.

        Plaintiff Terrell re-alleges paragraphs 1-81 as if fully stated herein.

                                              83.

        As a citizen of the United States, plaintiff Terrell is protected against

 unreasonable searches and seizure without probable cause as guaranteed by the

 Fourth Amendment of the United States Constitution.

                                              84.

        Chief Gonzales alleged plaintiff Quentin Terrell was speeding at 47 in a 35 mph

 zone which justified the stop of Quentin Terrell.

                                              85.

        Chief Gonzales within minutes told Officer Malone that Quentin Terrell was

 speeding at 48 miles per hour in contrast to the 47 miles per hour he had told Quentin

 Terrell.

                                              86.

        The Rapides Parish District Attorney then dismissed all charges (including

 speeding) which had supposedly been the justification for the initial stop of plaintiff,

 Quentin Terrell, finding there was “no case.”
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                                              87.

        Implicit in the Rapides Parish District Attorney’s actions, shows the decision

 made by Chief Gonzales to stop Quentin Terrell was unreasonable and there was no

 traffic violation that had occurred.

                                              88.

        Therefore, the initial stop was unconstitutional.

                                              89.

        Chief Gonzales was deliberately indifferent to established rights of the plaintiff,

 Quentin Terrell.

        WHEREFORE, the plaintiff seeks judgment against Chief Gonzales for

 reasonable compensatory and punitive damages plus attorney’s fees and costs.

                                          COUNT II

        FOURTH AMENDMENT - UNREASONABLE WARRANTLESS SEARCH
                        NO PROBABLE CAUSE

                                              90.

        Plaintiff Terrell re-alleges paragraphs 1-81 as if fully stated herein.

                                              91.

        Then, Chief Gonzales stated he “smelled” marijuana as a pretext to search the

 vehicle Quentin Terrell was driving. See United States v. Fennell, 2018 WL 2293966, at

 *6 (W.D. Tex. May 17, 2018).

                                              92.

        Of course, no marijuana was ever found in a search of the vehicle driven by

 Quentin Terrell.

                                              93.
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        Accordingly, the pretextual search of the vehicle was objectively unreasonable,

 and resulted in the lengthy illegal detention of plaintiff Quentin Terrell which ultimately

 resulted in catastrophic injuries which were caused by Chief Gonzales.

                                                94.

        Chief Gonzales was deliberately indifferent to the rights of plaintiff, Quentin

 Terrell.

        WHEREFORE, the plaintiff seeks judgment against Chief Gonzales for

 reasonable compensatory and punitive damages plus attorney’s fees and costs.

                                            COUNT III

     FOURTH AMENDMENT -UNREASONABLE SEIZURE – EXCESSIVE FORCE

                                                95.

        Plaintiff Terrell re-alleges paragraphs 1-81 as if fully stated herein.

                                                96.

        As a citizen of the United States, plaintiff Terrell is protected against the use of

 excessive force without cause or justification as guaranteed by the Fourth Amendment

 of the United States Constitution.

                                                97.

        As more fully described in the preceding paragraphs, the intentional conduct of

 defendant, Officer Malone and Chief Gonzales was objectively unreasonable, and

 constituted excessive force in violation of the Fourth Amendment of the United States.

                                                98.

        The misconduct described above was undertaken with malice, willfulness and

 reckless indifference to the rights of Plaintiff Terrell.
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                                                99.

          Plaintiff Terrell suffered catastrophic, permanent injuries as a result of the

 aforementioned actions of Officer Malone and Chief Gonzales.

                                               100.

          As a direct and proximate result of the use of excessive force by defendants,

 Officer Malone and Chief Gonzales, Plaintiff Terrell has suffered and will continue to

 suffer permanent physical and emotional damages which will be proven at trial.

          WHEREFORE, the plaintiff seeks judgment against Chief Gonzales and Officer

 Malone for reasonable compensatory and punitive damages, plus attorney’s fees and

 costs.

                                            COUNT IV

                 FOURTEENTH AMENDMENT – FAILURE TO INTERVENE

                                               101.

          Plaintiff Terrell re-alleges paragraphs 1-81 as if fully stated herein.

                                               102.

          Chief Gonzales observed Officer Malone using objectively unreasonable and

 excessive force, in violation of Plaintiff Terrell’s right to be free from an unreasonable

 seizure under the Fourth Amendment of the United States Constitution.

                                               103.

          Chief Gonzales failed to intervene and prevent Officer Malone from violating the

 Plaintiff’s Fourth Amendment rights to be free of an unreasonable seizure. Chief

 Gonzales froze in the moment, and his failure to intervene as the ranking officer on the

 scene is a cause in fact to Terrell’s damages.
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                                              104.

         The acts and omissions of Chief Gonzales violated the plaintiff’s rights under the

 due process clause of the Fourteenth Amendment, enforceable through 42 U.S.C. §

 1983.

         WHEREFORE, the plaintiff seeks judgment against Chief Gonzales for

 reasonable compensatory and punitive damages plus attorney’s fees and costs.

                                           COUNT V

                      MUNICIPAL LIABILITY UNDER 42 U.S.C. §1983
                      UNCONSTITUTIONAL CUSTOM OR PRACTICE

                                              105.

         Plaintiff Terrell re-alleges paragraphs 1-81 as if fully stated herein.

                                              106.

         The Town of Woodworth, Mayor Butler, and its police officers, including Chief

 Gonzales and Officer Malone, at all relevant times have maintained a custom or

 practice that have been the cause, the moving force, behind the violation of citizens’

 rights. Specifically, the custom or practice involves:

    a. The Town of Woodworth, Mayor Butler, and its police officers, including Chief

         Gonzales and Officer Malone, had a custom or practice of harassing drivers that

         drove through its town;

    b. A three judge panel on the Louisiana Third Circuit Court of Appeal held that

         unconstitutional “'check-em-out stops' … is normal procedure for the police

         officers of the Town of Woodworth.” Parker v. Town of Woodworth, 2014-943

         (La. App. 3 Cir. 3/4/15), 160 So. 3d 1113, 1124–25, writ denied, 2015-0659 (La.

         5/22/15), 171 So. 3d 254.
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    c. The custom or practice resulted in continuous and long-ranging illegal detentions,

        search and seizures of drivers and their vehicles which were unconstitutional,

        including the search and seizure of Quentin Terrell.

                                               107.

        The Town of Woodworth, Mayor Butler, and its police officers, including Chief

 Gonzales and Officer Malone, perpetuated, sanctioned, tolerated and ratified the

 outrageous conduct and other wrongful acts of its police officers with intentional,

 reckless and callous disregard for the life and liberty of Quentin Terrell and his

 constitutional rights.

                                               108.

        At all times, Defendants, the Town of Woodworth, Mayor Butler and Chief

 Gonzales had a duty to properly train, supervise and discipline their employees.

                                               109.

        Defendants breached that duty by being deliberately indifferent in:

    a. Improperly training, authorizing , encouraging or directing officers on citizen’s

        rights pursuant to the Constitution;

    b. Failing to investigate allegations of constitutional violations, including improper

        stops, improper searches, improper charges and allegations of excessive force.

    c. Failing to discipline officers for constitutional violations including illegal stops,

        illegal searches, improper charges and allegations of excessive force.

                                               110.

        The policy, pattern of practice or custom of condoned misconduct is overtly

 tolerated, as evidenced by the conduct of Chief Gonzales and Mayor Butler as
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 evidenced by the defendants’ failure to train, supervise, investigate and discipline

 officers which amounted to deliberate indifference to Plaintiff’s constitutional rights.

                                             111.

        The practices and customs implemented, maintained and tolerated by the Town

 of Woodworth, Mayor Butler, and its police officers, including Chief Gonzales and

 Officer Malone, were the moving force which caused plaintiff, Quentin Terrell, his

 injuries.

                                             112.

        Accordingly, Defendants, The Town of Woodworth, Mayor Butler, Chief Gonzales

 and Officer Malone, are liable to the plaintiff for damages under 42 U.S.C. §1983.

        WHEREFORE, the plaintiff seeks judgment against the Town of Woodworth for

 reasonable compensatory damages plus attorney’s fees and costs and all other

 equitable relief allowed by law.

                                          COUNT VI

                    MUNICIPAL LIABILITY UNDER 42 U.S.C. §1983
                   RATIFICATION AND UNCONSTITUTIONAL EDICT

                                             113.

        Plaintiff Terrell re-alleges paragraphs 1-81 as if fully stated herein.

                                             114.

        In the Alexandria Daily Town Talk, it was reported Mayor Butler, a final policy

 maker for the Town of Woodworth, issued an edict, “Those who come into our

 community and mess with Woodworth, the police will mess with you. I stand

 behind my officers 100 percent.” Eugene Sutherland. Police: Traffic Tickets about

 Safety, Not Money, The Alexandria Daily Town Talk, May 7, 2006.
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                                              115.

       When the current Woodworth Chief of Police was Deputy Chief James “Speedy”

 Gonzales for the Town of Woodworth stated, “I love our reputation.” Robert Roan,

 Proud to be a Speed Trap, Alexandria Daily Town Talk, January 8, 1996

                                              116.

       Upon information and belief, Mayor Butler, as final policy maker, had final policy

 making authority concerning the acts of defendants, Chief Gonzales and Officer

 Malone, ratified and approved defendants’ acts and bases for them.

                                              117.

       Upon information and belief, Chief Gonzales as a policy maker had final policy

 making authority concerning the acts of defendant.

                                              118.

       At all times, Defendants, the Town of Woodworth, Mayor Butler and Chief

 Gonzales had a duty to properly train, supervise and discipline their employees.

                                              119.

       Defendants breached that duty by being deliberately indifferent in:

    a. Improperly training, authorizing, encouraging or directing officers on citizen’s

       rights pursuant to the Constitution;

    b. Failing to investigate allegations of constitutional violations, including improper

       stops, improper searches, improper charges and allegations of excessive force.

    c. Failing to discipline officers for constitutional violations including illegal stops,

       illegal searches, improper charges and allegations of excessive force.
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    WHEREFORE, the plaintiff seeks judgment against the Town of Woodworth for

 compensatory damages plus attorney’s fees and costs, and all other equitable relief.

                                         COUNT VII

                                        STATE LAW

                        FALSE ARREST/FALSE IMPRISONMENT

                                             120.

        Plaintiff reurges and incorporates paragraphs 1-81, in full.

                                             121.

        Defendants Malone and Gonzales committed the tort of false imprisonment on

 Mr. Terrell, as he committed no crimes and there was no probable cause or reasonable

 suspicion to detain, arrest and jail him.

                                             122.

        Any evidence seized to justify said probable cause was obtained pursuant to an

 illegal search and cannot be considered in any probable cause determination.

                                             123.

        Further, even if probable cause exists for a speeding violation, Woodworth police

 would not make a custodial arrest for only a speeding ticket, and Defendants are liable

 for false imprisonment as Defendant spent months in jail at the Rapides Parish

 Detention Center because of the false charges made by the Woodworth City Police,

 specifically, Malone and Gonzales.

                                             124.

        The unlawful acts of Officer Malone and Chief Gonzales were taken within the

 scope of their employment with Town of Woodworth.
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                                             125.

        The aforesaid acts of Officer Malone and Chief Gonzales were the direct,

 proximate cause of plaintiff’s injuries and damages.

        WHEREFORE, the plaintiff seeks judgment against all defendants for reasonable

 compensatory damages, and all other equitable relief allowed by law.

                                         COUNT VIII

                                  STATE LAW- BATTERY

                                             126.

        Plaintiff reurges and incorporates paragraphs 1-81, in full.

                                             127.

        Defendant Malone is liable unto plaintiff for the battery committed when he

 wrongfully tackled and shot Plaintiff in the back twice, causing grievous and permanent

 catastrophic injury, lost wages, lost opportunity at income, medical bills, and loss of

 enjoyment of life.

                                             128.

        By using excessive and unreasonable force, Officer Malone caused a harmful or

 offensive contact with plaintiff, Quentin Terrell, resulting from an act Officer Malone

 intended to cause that contact with two bullets to plaintiff, Quentin Terrell’s back.

                                             129.

        Officer Malone’s acts were taken within the course and scope of employment

 with the Town of Woodworth.

                                             130.

        This unlawful contact was the direct, proximate cause of the plaintiff’s injuries.
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          WHEREFORE, the plaintiff seeks judgment against Officer Malone and the Town

 of Woodworth for compensatory damages, cost, expenses and all other equitable relief

 allowed by law.

                                           COUNT IX

                         STATE LAW -MALICIOUS PROSECUTION

                                              131.

          Plaintiff reurges and incorporates paragraphs 1-81, in full.

                                              132.

          Chief Gonzales initiated criminal charges of Speeding, Improper Lane Usage,

 Littering, Unauthorized Use of a Motor Vehicle, Felon in Possession of a Firearm,

 Resisting a Police Officer with Force or Violence, Aggravated Assault upon a Police

 Officer with a Firearm, Flight from an Officer, and Battery on a Police Officer with malice

 and without probable cause.

                                              133.

          The aforementioned charges were terminated and dismissed in the Plaintiff’s

 favor.

                                              134.

          The acts of charging Terrell were taken within the scope of Chief Gonzales’s

 employment by the Town of Woodworth.

                                              135.

          These acts of Chief Gonzales were the direct and proximate cause of injuries

 and damages to the plaintiff, Quentin Terrell.

                                              136.
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        Chief Gonzales’s acts were taken within the course and scope of employment

 with the Town of Woodworth.

        WHEREFORE, the plaintiff seeks judgment against all defendants for

 compensatory damages plus all other equitable relief allowed by law.

                                          COUNT X

                                 STATE LAW- DEFAMATION

                                             137.

        Plaintiff Terrell re-alleges paragraphs 1-81 as if fully stated herein.

                                             138.

        Chief Gonzales made false and defamatory statements concerning Quentin

 Terrell in the police report.

                                             139.

        This was an unprivileged communication by Chief Gonzales.

                                             140.

        Chief Gonzales is at fault for publishing false and defamatory information in the

 police report which is public record.

                                             141.

        The charges made by Chief Gonzales, which were eventually dismissed by the

 Rapides Parish District Attorney, were published in the newspaper and subjected the

 plaintiff to humiliation, embarrassment and damages.

                                             142.

        Chief Gonzales’s acts were taken within the course and scope of employment

 with the Town of Woodworth.
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       WHEREFORE, the plaintiff seeks judgment against Chief Gonzales and the

 Town of Woodworth for compensatory damages plus all other equitable relief allowed

 by law.

                                               143.

                                      ATTORNEY’S FEES

       Plaintiffs pray for reasonable attorney’s fees and interest upon attorney’s fees,

 pursuant to 42 USC § 1988.

                                               144.

                                            JURY TRIAL

       Plaintiff prays for trial by jury.

                                               145.

       The town of Woodworth is vicariously liable for all state law delicts of its servants,

 Malone, Gonzales and Butler committed in the course and scope of their employment

 under the doctrine of Respondeat Superior.

                                               146.

       Woodworth’s insurer Berkshire Hathaway Guard Insurance Companies, owes a

 duty of indemnity for its insured, the Town of Woodworth, and all its employees in the

 course and scope of their employment. Accordingly, Berkshire Hathaway is a party

 under Louisiana’s Direct Action Statute.



       WHEREFORE, Plaintiff prays for judgment against Defendants Butler, the Town

 of Woodworth, its insurer, Berkshire Hathaway, Mayor Butler, Officer Malone, and Chief

 Gonzales, awarding compensatory damages as proved, punitive damages against
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 Malone and Gonzales for willful violation of federally protected rights, reasonable

 attorney’s fees, interest on attorney’s fees, judicial interest, all costs of court and

 litigation, and any other relief Equity and Justice demand.



                                       Respectfully Submitted,


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